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EDNY (Revised 03/0 1/2023)


                                   UNITED STATES DISTRlCT COURT
                                                        for the

                                            Eastern District of New York

UNITED STATES OF AMERJCA


                 V.                                                             Case No.   I SCI(,_ {~s{P4)

                             Defendant.


                                  ORDER OF DETENTION PENDING HEARil'iG ON
                                     VIOLATION OF SUPERVISED RELEASE

                                          Part I - E ligibility for Detention

      Having been charged with a v iolation of supervised release in this matter, the Defendant has made an Initial
Appearance before the Court pursuant to Fed . R. Crim. P. 32. 1 and been informed of the D efendant's rights pursuant
to Fed. R . Crim. P. 32. l (a)(3). The Court has held a hearing and orders the Defendant detained pursuant to Fed. R.
Crim. P. 32. l(a)(6) and 18 U.S.C. § 3143(a)(l) for the reasons set forth below.

       After considering the the information presented at the detention hearing, the Court concludes that the
Defendant must be detained pending a hearing concerning the charges set forth in the Petition for Warrant or
Summons for Offender under Supervision and V iolation of Supervised Release Report because the Defendant has
failed to establish:

    D By clear and convinc ing evidence that there are conditions or a combination of conditions, that upon the
      Defendant' s release, will reasonably assure the safety of any other person and the community.

    D By clear and convincing evidence that there are conditions or a combination of conditions of release that
      will reasonably assure the Defendant' s appearance as required.

1n addition to any findings made on the record at the hearing, the reasons fo r detention include the following:

        ✓weight     of evidence against the Defendant is strong
        D §,ttbject to lengthy period of incarceration if convicted
        ~ P~ r criminal history
        ~ ~cipation in criminal activity while on probation, parole, or superv ision
        ~    istory of violence or use of weapons
        D History of a lcoho l or s ubstance abuse
        D Lack of stable employment
        D L ack of stable residence
        D Lack of financially responsible sureties
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          0 Lack of significant comm tmity or fami ly ties to this district
          0 Significant fami ly or other ties outside the United States
          0 Lack of legal status in the United States
          0 Subject to removal or deportation after serving any period of incarceration
          0 Prior failure to appear in court as ordered
          0 Prior attempt(s) to evade law enforcement
          0 Use of alias(es) or fa lse documents
          0 Background infonnation unknown or unverified
          0 Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:

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                                        Directions Regarding Detention

 The Defendant is remanded to the custody of the Attorney General or to the Attorney General's designated
 representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting
 or serving sentences or being held in custody pending appeal. The Defendant must be afforded a reasonable
 oppo1tun1ty for private consultation with defense counsel. On order of a cou1t of the United States or on request
 of an attorney for the Government, the person in charge of the corrections facility must deliver the Defendant to
 a United States arshal for the purpose of an appfrance. in~           ti~n wAh a cou1t proceeding.

  Date:
               --, 24/2,;23                                s/Marcia M. Henry
                                                       tJnit@EI ~ta~es Diseiiet Jwdge /-lJn ited States Magistrate Judge




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